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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



BLACK LIVES MATTER D.C., et al.,
            Plaintiffs,
      v.                                     No. 20-cv-1469 (DLF)

DONALD J. TRUMP, et al.,
             Defendants.


RADIYA BUCHANAN, et al.,
            Plaintiffs,                      No. 20-cv-1542 (DLF)
      v.

DONALD J. TRUMP, et al.,
             Defendants.


ISABELLA KAVANAGH,
            Plaintiff,
                                             No. 20-cv-2163 (DLF)
      v.
DONALD J. TRUMP, et al.,
             Defendants.


RYAN ROTH,

            Plaintiff,
      v.
                                             No. 20-cv-1622 (DLF)
DONALD J. TRUMP, et al.,

             Defendants.
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                                              ORDER

          Upon consideration of the fifteen motions to dismiss in these four related cases:

                       In Black Lives Matter v. Trump, 20-cv-1469, it is:

          ORDERED that the individual-capacity federal defendants’ Motion to Dismiss, Dkt.

76, is GRANTED. It is further

          ORDERED that the official-capacity federal defendants’ Motion to Dismiss, Dkt. 79,

is GRANTED IN PART AND DENIED IN PART. It is further

          ORDERED that the District of Columbia defendants’ Motion to Dismiss, Dkt. 80, is

GRANTED IN PART AND DENIED IN PART. It is further

          ORDERED that the Virginia defendants’ Motion to Dismiss, Dkt. 83, is GRANTED

IN PART AND DENIED IN PART. It is further

          ORDERED that Major Adamchik’s Motion to Dismiss, Dkt. 97, is GRANTED. It is

further

          ORDERED that Officer Kellenberger’s Motion to Dismiss, Dkt. 142, is GRANTED.

It is further

          ORDERED that Sergeant LoCascio’s Motion to Dismiss, Dkt. 143, is GRANTED.

It is further

          ORDERED that the Federal Line-Level defendants’ Motion to Dismiss, Dkt. 146, is

GRANTED. It is further

       ORDERED that, consistent with the Court’s Minute Order of September 3, 2020, the

Court will defer ruling on the Black Lives Matter plaintiffs’ stayed motion for class

certification at this time. The opposing parties shall file any response to the pending motion

on or before July 21, 2021.




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                        In Buchanan v. Trump, 20-cv-1542, it is:

        ORDERED that the individual-capacity federal defendants’ Motion to Dismiss, Dkt.

 34, is GRANTED. It is further

        ORDERED that the official-capacity federal defendants’ Motion to Dismiss, Dkt. 35,

 is GRANTED IN PART AND DENIED IN PART. It is further

        ORDERED that the Virginia defendants’ Motion to Dismiss, Dkt. 36, is GRANTED

 IN PART AND DENIED IN PART. It is further

        ORDERED that the District of Columbia defendants’ Motion to Dismiss, Dkt. 54, is

 GRANTED IN PART AND DENIED IN PART. It is further

        ORDERED that Defendants Adamchik, Fennelly, and Seiberling’s Motion to

 Dismiss, Dkt. 59, is GRANTED.

  In Roth v. Trump, 20-cv-1622 and Kavanagh v. Trump, 20-cv-2163 (consolidated), it is:

      ORDERED that Attorney General Barr’s individual Motion to Dismiss, Dkt. 20, is

 GRANTED. It is further

      ORDERED that the official-capacity federal defendants’ Motion to Dismiss, Dkt. 21,

 is GRANTED IN PART AND DENIED IN PART. It is further

      ORDERED that the two motions filed in Kavanagh v. Trump before the case was

 consolidated, Dkt. 21; Dkt. 22, are DENIED AS MOOT.



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                                                        DABNEY L. FRIEDRICH
June 21, 2021                                           United States District Judge




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